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Carey Caldwell, OSB #093032
Deputy City Attorney
carey.caldwell@portlandoregon.gov
William W. Manlove, OSB #891607
Senior Deputy City Attorney
william.manlove@portlandoregon.gov
Portland City Attorney’s Office
1221 SW 4th Ave., Rm. 430
Portland, OR 97204
Telephone: (503) 823-4047
Facsimile: (503) 823-3089
Of Attorneys for Defendants

                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


ESTATE OF AARON D. STANTON,                      3:23-cv-01767-AN
BY DOUGLAS STANTON, PERSONAL
REPRESENTATIVE, AND A. S., A
MINOR, BY AND THROUGH HER                        DEFENDANTS’ ANSWER AND
GUARDIAN AD LITEM, DOUGLAS                       AFFIRMATIVE DEFENSES TO
STANTON,                                         PLAINTIFFS’ COMPLAINT

              PLAINTIFFS,

       v.

JOSHUA DYK and CITY OF PORTLAND,

              DEFENDANTS.

       In accordance with Fed. R. Civ. P. 15(a)(1)(A), Defendants Joshua Dyke (“Dyk”) and the
City of Portland (“City”; collectively “Defendants”) file Defendants’ Answer and Affirmative

Defenses to Plaintiffs’ Complaint in correspondingly numbered paragraphs as follows:

                         CORE FACTS COMMON TO ALL CLAIMS

       1.             Defendants admit that on the time and date, Officer Dyk shot Aaron

Stanton after Stanton lowered his weapon and fired toward officers.

       2.             Defendants admit that Officer Dyk was aware that Stanton had fired his

weapon numerous times prior to lowering it toward officers. Otherwise deny.
       3.             Defendants admit that Dyk knew a child was at the home.

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       4.              Defendants deny that the named officers were with Dyk at the time of the

shooting.

       5.              Defendants admit that there was a plan and that this paragraph captures

some part of the plan but deny it encompasses the whole plan and that the officers were involved

as alleged.

       6.              Defendants deny.

                                JURISDICTION AND VENUE

       7. – 9.         Defendants admit that jurisdiction and venue are proper.

                                            PARTIES

       10. – 13.       Defendants admit the parties are as named.

                    ADDITIONAL FACTS COMMON TO ALL CLAIMS

       14.             Defendants admit.

       15. – 16.       Defendants are without sufficient information to admit or deny the

allegations in these paragraphs and therefore deny.

       17.             Defendants admit that it received a 911 call and the caller could not tell if

Stanton was aiming the gun at anyone and that this was the first time this had happened.

       18.             Defendants deny.

       19. – 22.       Defendants admit that the sequence in these paragraphs is more or less as

alleged.

       23.             This paragraph is compound and contains conclusions to which a response

is not required. Upon information and belief, no responding officer had prior contact with Stanton.

There is also no evidence that Stanton had alcohol or mental health issues and, regardless, no

officer had any knowledge of such or reported observing Stanton experiencing the same.

       24.             Defendant City admits that officers located a potential contact number but

deny there was a request to make contact. Defendants further admit that Officer Ramic, pursuant

to command instruction, sent over radio, “don’t call yet.”


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       25. – 28.       Defendants admit that for some time in the referenced period, Stanton and

A.S. were inside and Defendants did not call Stanton. Defendants further admit that around the

time referenced, Stanton exited and began firing his weapon or weapons again and that

Defendant Dyk observed the same.

       29. – 33.       Plaintiffs use an undefined term “de-escalating dialogue” and therefore

Defendants deny that allegation absent additional information. Defendants admit PPB officers

gave Stanton directives and that he ignored them, ultimately leveling his weapon toward the

officers and firing. Defendants otherwise admit the sequence of events as similar to Plaintiffs’

allegations.

       34.             Defendants admit.

       35. – 36.       Defendants admit that, in 2010, Defendant City invited the United States

Department of Justice (DOJ) to investigate its Bureau of Police and make recommendations for

improvements in its policies and procedures. DOJ conducted a lengthy review of police use of

force in Portland and issued a findings letter in 2012, asserting that the Police Bureau had a

pattern or practice of unconstitutionally using excessive force on people who either were, or

were perceived to be, mentally ill or in mental health crisis. Defendant City denied, and

continues to deny, that any such pattern or practice existed or exists. Defendant City nevertheless

embarked on extended negotiations with DOJ to agree on improvements that the City could

implement to improve the interactions between the police and people with mental illness or in

mental health crisis, to enhance transparency, and further trust and legitimacy with the

community. The United States and Defendant City reached a settlement agreement wherein the

City agreed to make changes to its police policies, practices and training, and to enhance public

oversight, transparency and accountability for incidents involving use of force by Portland

Police. The agreement also provided for enhanced data collection and reporting. The City and the

United States further agreed that DOJ could file, and then conditionally dismiss, a federal court

action to ensure that the district court would have jurisdiction to enforce the parties’ settlement


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agreement, should that prove necessary.

       Defendants further admit that, since 2012, Defendant City has revised its Use of Force

policies and trainings in accordance with the settlement with the United States, and that those

policies and trainings require de-escalation in appropriate circumstances. Further, Defendant City

affirmatively alleges that the U.S. Department of Justice has reviewed and approved of these

revisions to the City’s Police Bureau’s Use of Force policies and trainings. Otherwise, any

documents, publications, or findings speak for themselves. Defendants otherwise deny any

allegations inconsistent with the above.

       37.            Any document referenced speaks for itself. Defendant City admits that

there have been multiple officer involved shootings since 2003 and that PPB has disciplined

some officers for some shootings.

               a.     Defendant City admits that on May 5, 2003, shortly after 2:52 a.m.,

       Officer Scott McCollister responded to a call for assistance on a traffic stop involving a

       driver and two passengers. The passenger in the rear seat of the vehicle was Kendra

       James. The officers took the driver and other passenger into custody without incident.

       Ms. James, however, resisted the efforts of the officers, refused to get out of the car,

       moved into the driver’s seat, started the vehicle, and began to drive away. As the car

       lurched forward and began to move away, and believing he was about to be dragged

       under the moving vehicle and about to be killed or seriously injured, Officer McCollister

       shot Ms. James. Defendant City affirmatively alleges that subsequent to Ms. James’

       shooting, a federal court jury explicitly found no liability for Officer McCollister on the

       claim of excessive deadly force. Portland Police Bureau (“PPB”) found Officer

       McCollister’s actions to be a violation of PPB Directive 315.30, and the City imposed

       discipline on him by suspending him for 900 hours without pay. The Portland Police

       Association pursued an appeal of the City’s decision to suspend Officer McCollister. An

       arbitrator who adjudicated the case ultimately ordered the City to expunge Officer


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     McCollister’s suspension and give him back pay. Defendant City admits McCollister is

     currently a detective with the Police Bureau. Otherwise, Defendant City denies.

            b.      Defendant City admits that on March 24, 2004, at approximately 5:07

     p.m., Officers Sean Macomber and Jason Sery stopped a motor vehicle driven by James

     Perez for a traffic violation and having unlawful tinted windows. During the traffic stop,

     Mr. Perez physically struggled with Officer Macomber, and ignored repeated commands

     from both officers to show his hands. Instead, during the physical struggle, Mr. Perez

     reached for the center console of the vehicle and then his right front pocket, while staring

     at and appearing to target Officer Macomber. After explicitly warning Perez that he

     would be shot if he did not show his hands and believing that Mr. Perez was reaching for

     a weapon about to shoot him and/or Officer Macomber, Officer Sery shot Perez. Later, it

     was learned Mr. Perez had a near lethal dose of cocaine in his system at the time of his

     death. Defendant City admits Officer Sery later resigned from the Portland Police

     Bureau, on information and belief, to work as a pastor. Defendant City lacks information

     sufficient at this time to admit or deny Jason Sery’s present employment status, whether

     the bureau-imposed discipline, or whether Sery received any de-briefing or counseling

     after the shooting, and therefore deny those allegations. Defendant City affirmatively

     alleges that a Multnomah County Grand Jury returned a Not True Bill for Officer Sery of

     criminal wrongdoing. Defendant City affirmatively alleges that after the Grand Jury

     proceeding the Multnomah County District Attorney’s Office convened a public inquest

     into the Perez shooting, which was supported by Portland Police Bureau Chief Derrick

     Foxworth. After the inquest, Chief Foxworth asked the Portland office of the Federal

     Bureau of Investigation to open a civil rights investigation into the Perez shooting.

            c.      Defendant City admits that on November 5, 2005, Officer Leo Besner

     heard a gunshot, which he believed came from Mr. Gwerder, and then later saw Mr.

     Gwerder pointing a firearm in a manner indicating that Gwerder was looking for


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     someone to shoot. Fearing for the safety of other officers and citizens, Besner then shot

     Mr. Gwerder. Officer Besner was later promoted to sergeant. Defendant City lacks

     information sufficient at this time to admit or deny the remainder of the allegations and

     therefore deny.

            d.      Defendant City admits that the allegations in this paragraph are nearly a

     verbatim recitation from Willamette Week and other articles. Defendant City further

     admits that on September 17, 2006, Officer Humphreys, Deputy Burton, and Sergeant

     Nice attempted to take Mr. Chasse into custody. During the attempted arrest, Mr. Chasse

     attempted to elude the officers and was brought to the ground. While on the ground Mr.

     Chasse violently resisted and fought against the officers, including attempting to bite

     them. Officers used focused strikes to subdue Mr. Chasse. At one point Mr. Chasse went

     limp but quickly regained composure. Nonetheless, officers called for medical assistance.

     AMR arrived and officers conveyed a history of the custody, including the physical

     engagement with Mr. Chasse. Mr. Chasse was cleared by AMR paramedics at the scene,

     as his vital signs were all within the normal range. Staff at MCDC declined to accept him

     into the jail because jail nurses observed a brief seizure like activity and his generally

     poor physical condition. He died while Portland Police officers were then transporting

     him to the hospital.

            The remaining allegation in this paragraph do not relate to the parties, allegations,

     claims, or defenses and therefore do not require a response. To the extent a response is

     required, the Defendant City admits that at one point Saltzman was removed as

     commissioner, Sizer was fired, and Burton, Nice, and Humphreys worked for the PPB.

     Defendants are otherwise unaware of subsequent employment.

            e.      Defendant City admits that on January 4, 2006, at approximately 2:17

     a.m., Lt. Jeff Kaer was investigating a suspicious vehicle and suspected drunk driver.

     While stopped, but with the engine running, the driver Dennis Young failed to obey


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     Kaer’s commands, put the car in gear, drove a short distance, ran over a curb, and crashed

     into a small tree. The driver suddenly put the car in reverse and drove the car directly at

     Kaer. Believing his life was in danger, Kaer fired two shots at the vehicle was he was

     side-stepping to his left to get out of the vehicle’s path. PPB found Lt. Kaer’s actions to

     be violations of PPB Directives 315.30 and 1010.10 and the City imposed discipline on

     Lt. Kaer by terminating Lt. Kaer’s employment with the Portland Police Bureau.

     Defendant City admits that the Portland Police Commanding Officer’s Association

     pursued an appeal of the City’s decision to terminate Mr. Kaer. The arbitrator also

     awarded Mr. Kaer back pay. Defendant City admits that an arbitrator who adjudicated the

     case ultimately ordered the City to set aside Mr. Kaer’s termination and instead impose a

     30-calendar day suspension on Mr. Kaer. Defendant City otherwise denies the allegations

     contained in this paragraph.

            f.      Defendant City admits that January 29, 2010, PPB officers including

     Officer Ronald Frashour and Officer James Quackenbush responded to a welfare check

     call concerning Aaron Campbell. The caller stated that Mr. Campbell was suicidal and

     armed with a gun. Defendant City admits on information and belief that Aaron Campbell

     was African-American and that he was 25-years old at the time. Officers who responded

     confirmed that Mr. Campbell was inside an apartment with his three children. Officer

     Quackenbush established cell phone contact with Mr. Campbell. Mr. Campbell sent his

     children out of the apartment and then later exited the apartment himself, walking

     backwards with his hands on his head. Officer Ryan Lewton gave Mr. Campbell verbal

     commands and warnings that officers could potentially use force. Officer Lewton,

     believing that Mr. Campbell was not complying with those commands and warnings and

     also believing that Mr. Campbell was a threat because he was potentially armed and not

     complying, fired his less lethal shotgun at Mr. Campbell. Mr. Campbell then began

     running back toward the apartment. Officer Frashour, the AR-15 operator for the custody


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     team, observed Mr. Campbell’s left hand reaching into the back of his waistband while he

     was running. Believing that Mr. Campbell was armed, that there was a possibility that

     there could be people potentially still in the apartment and also believing that Mr.

     Campbell presented an immediate threat of death to officers on the scene, Officer

     Frashour fired his AR-15 at Mr. Campbell. Mr. Campbell died as a result of the shooting.

     PPB found Officer Frashour’s actions to be violations of PPB Directives 315.30, 1010.10,

     and 1010.20, and the City imposed discipline on Officer Frashour by terminating Officer

     Frashour’s employment with the Portland Police Bureau. The City also imposed

     discipline on other officers involved with the incident. Defendant City admits that the

     Portland Police Association pursued an appeal of the City’s decision to terminate Mr.

     Frashour. Defendant City admits that an arbitrator who adjudicated the case ultimately

     ordered the City to reinstate Mr. Frashour to his former position as police officer and to

     make him whole for wages lost during the period of his unemployment. The City

     appealed the arbitrator’s decision to the Employment Relations Board, who upheld the

     arbitrator’s decision. The City then appealed the decision to the Oregon Court of

     Appeals, and the Court of Appeals also upheld the decision. Defendant City otherwise

     denies the allegations in this paragraph.

            g.      Defendant City admits that on or about May 12, 2010, Portland Police

     Officers on the Hotspot Enforcement Action Team initiated a stop of a vehicle operated

     by Keaton Otis, who was exhibiting suspicious behavior and had committed multiple

     traffic infractions. The City admits on information and belief that Mr. Otis was African

     American and was 25-years old at the time. Defendant City lacks information sufficient

     at this time to admit or deny whether Mr. Otis was experiencing any mental health crisis

     and therefore deny that allegation. Officers stopped Mr. Otis’s vehicle and approached

     him. Mr. Otis reacted with hostility to the officers and refused to comply with verbal

     commands to show officers his hands. Officers developed a plan to remove Mr. Otis from


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     the vehicle and handcuff him so officers could complete the traffic stop. An officer

     attempted to apply a control hold on Mr. Otis’s left arm. Mr. Otis pulled away from the

     officer and reached towards the glove box of his vehicle. Mr. Otis then opened the glove

     box, retrieved a firearm, and shot the PPB officer who had previously attempted a control

     hold on Mr. Otis. Following that, PPB officers, perceiving a significant and immediate

     threat of death or serious bodily injury, shot and killed Mr. Otis. Defendant City admits

     that the incident was reviewed by and found within policy. Defendant City admits that no

     officer was disciplined. Defendant City otherwise denies the allegations contained in this

     paragraph.

            h.      Defendant City admits that on June 30, 2011, Officer Dane Reister

     responded to reports of a suspicious person who was intoxicated and harassing children

     in a park. Officer Reister approached Mr. Monroe and observed Mr. Monroe holding a

     knife. Mr. Monroe then ran away from Officer Reister. Officer Reister chased Mr.

     Monroe for a short distance while giving him verbal commands. Because he was

     concerned that Mr. Monroe was armed and running towards a residential community,

     Officer Reister fired his less-lethal shotgun at Mr. Monroe, wounding him. Subsequent

     investigation revealed that Officer Reister had mistakenly loaded buckshot rounds into

     his less-lethal shotgun. The Oregon State Medical Examiner later identified shotgun

     wounds on Mr. Monroe’s right buttock, the back of his left thigh, and a grazing wound to

     the front of his right thigh. Defendant City admits that the Portland Police Bureau

     investigated the incident. PPB found Officer Reister’s actions to be violations of PPB

     Directives 315.30 and 1050.00 and the City imposed discipline on Officer Reister by

     terminating Officer Reister’s employment with the Portland Police Bureau. Defendant

     City admits that the District Attorney pursued criminal charges of Assault in the Third

     Degree and Assault in the Fourth Degree against Mr. Reister. City Defendants admit that

     Mr. Reister died in 2015 and that the criminal case against him was on appeal at the time.


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     Defendant City lacks information sufficient at this time to admit or deny whether Mr.

     Monroe was diagnosed with bipolar disorder or whether he was permanently disabled as

     a result of the shooting and therefore deny that allegation. Defendant City otherwise

     denies the allegations in this paragraph.

            i.      Defendant City admits that on or about July 28, 2012, Billy Simms was

     implicated in a road-rage incident in which a handgun was discharged at an occupant of

     another vehicle. During the subsequent investigation, PPB officers including Officer

     Justin Clary located Mr. Simms’ vehicle parked and unoccupied in the lot of a 7-Eleven

     store. PPB officers approached Mr. Simms and issued him verbal commands to stop and

     place his hands in the air. Mr. Simms did not comply, and instead entered the driver’s

     side of his vehicle and attempted to flee the scene. PPB officers were able to move a

     police vehicle behind Mr. Simms’ car to prevent him from backing out of the parking

     space. Mr. Simms then pulled his car forward and drove over the parking spot block and

     onto the store front sidewalk. Mr. Simms then drove directly at the officers, forcing one

     officer to lunge out of the way of the vehicle, and officers observed Mr. Simms reaching

     downwards for something in his vehicle and then reaching his right arm upwards from

     below the vehicle’s dashboard. Officer Justin Clary, who was using an AR-15 rifle,

     believed that Mr. Simms was attempting to reach and fire a handgun. Believing that his

     life and the life of other officers were in danger, Officer Clary fired his AR-15 rifle at Mr.

     Simms, killing him. A .22 caliber pistol was found on Mr. Simms’ body, inside of his

     waistband. An Oregon State Medical Examiner later found six gunshot wounds on Mr.

     Simms’ body. Defendant City admits that it investigated the incident and concluded that

     no discipline of the involved offices was warranted, and therefore no discipline occurred.

     Defendant City otherwise denies the allegations contained in this paragraph.

            j.      Defendant City admit that in 2013 Officer Hearst, along with two other

     Portland police officers, shot at Merle Hatch after Mr. Hatch had taken hostages at a local


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     hospital, was reported to have pointed a gun at persons in the hospital parking lot, and

     charged at Hearst and the other two police officers. Defendant City admits Mr. Hatch was

     killed during the encounter with the police. Defendant City admits the City did not

     impose discipline on Hearst or the other officers related to the shooting of Mr. Hatch.

     Defendant City lacks information sufficient at this time to admit or deny whether Mr.

     Hatch was experiencing any mental health crisis, and therefore denies that allegation.

     Defendant City otherwise denies the allegations contained in this paragraph.

            k.      Defendant City admits that on February 17, 2015, PPB officers including

     Sgt. Jose Gonzalez and Officer Charles Asheim conducted a mission to arrest Ryan

     Sudlow on outstanding felony warrants for probation violation and attempt to elude.

     After officers observed Mr. Sudlow driving into a Safeway gas station, officers boxed

     Mr. Sudlow’s vehicle in at the gas station. Officer Asheim immediately exited his patrol

     vehicle, unholstered his gun, and began giving Mr. Sudlow verbal commands. In

     response, Mr. Sudlow accelerated his vehicle in reverse and then forward, hitting two

     police cars. Officer Asheim observed Mr. Sudlow reaching into the center console area of

     his vehicle and then holding a dark object. Believing that his life and the lives of others

     were in jeopardy, Officer Asheim fired one shot which did not penetrate the windshield

     of Mr. Sudlow’s vehicle. Defendant City admits the police bureau investigated the

     incident and did not impose discipline on Officer Asheim, but the bureau debriefed and

     counseled him regarding the box-in and his communication with other officers during the

     incident. Defendant City otherwise denies the allegations contained in this paragraph.

            l.      Defendant City admits that on February 9, 2017, Portland police were

     searching for a suspect who committed armed robbery by pointing a gun in the face of the

     victim and threatened to shoot him, broke into and stole property from a parked car,

     trespassed into the backyard of a residential home, attempted entry into that home, lied to

     police officers who questioned his presence at the home, ran from those officers who


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     observed him to be holding an object at his waist as he ran away, trespassed into another

     backyard of a home while eluding police officers, broke into that home. Officers

     discovered Mr. Hayes as he exited the home he broke into. Officers directed him to crawl

     from the home on his hands and knees toward them. Officers instructed Mr. Hayes to lie

     prone for custody. Mr. Hayes began to reach toward his waist band as officers went to

     arrest him. As officers renewed their approach to arrest, Mr. Hayes again reached to his

     waistband as if for a weapon and Officer Hearst, the lethal cover officer, shot Mr. Hayes

     three times. Upon approach, officers discovered a realistic replica 9mm CZ P-09 handgun

     near Mr. Hayes’s right hand. The IA investigation speaks for itself. Defendant City

     otherwise denies the remaining allegations in this paragraph.

            m.      Defendant City admits that on July 30, 2019, PPB was dispatched to a 911

     call regarding Mr. Martin casing vehicles, acting erratically, and threatening the caller

     and nearby citizens with a weapon in the area of NE 122 nd Ave and NE Davis St. Mr.

     Martin was reported as having a knife in his pocket and carrying a hatchet. When officers

     arrived they observed Mr. Martin menacing pedestrians with the raised hatchet and

     claiming to be a federal agent. Officers described Mr. Martin as “seething angry.” The

     officers attempted to communicate with Mr. Martin from a safe distance and tried to de-

     escalate the situation, but were met with threats, menacing of the hatchet, and incoherent

     statements about murder and federal agents. Mr. Martin then began to run away, still

     wielding the hatchet and in possession of the pocket knife. Multiple officers followed Mr.

     Martin from a safe distance as they attempted to de-escalate. Officers were unable to

     establish any line of communication with Mr. Martin and Mr. Martin ignored all

     commands.

            Officers continued to use de-escalation communication, and eventually used less

     lethal tools without success or compliance from Mr. Martin. Instead, he answered with

     intense anger, aggression, threats of murder, statements that he had cut his girlfriend’s


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      head off and put it in a box, statements that he was a federal agent, and menacing with the

      hatchet. After being struck a second time with a less lethal round, Mr. Martin again ran

      away, dropping the hatchet, but keeping the knife. At one point, Mr. Martin turned back

      toward police again threatening a fight. Consistent with his training, as Mr. Martin

      ignored commands and approached in a threatening and deadly manner, Officer Doran

      fired an initial burst of four to five bullets at Mr. Doran. The shots did not stop Mr.

      Martin’s approach or behavior so, consistent with training, he fired another burst of four

      to five bullets. The last burst was successful in stopping Mr. Martin. Other officers were

      about to fire but waited until the outcome of Officer Doran’s shots. Officer Doran was

      not disciplined and the IA file speaks for itself. Defendant City otherwise denies the

      allegations contained in this paragraph.

             n.      Defendant City admits that on April 16, 2021, Police encountered Mr.

      Delgado in Lents Park. They responded to a call of an individual doing quick draws and

      pointing a handgun in the park. One of the responding officers, DeLong, attempted to

      communicate with Mr. Delgado and deescalate the situation. Instead, the situation

      escalated and Mr. Delgado became more threatening and aggressive, threatening to shoot

      and kill the officers. When Mr. Delgado pulled a replica weapon and pointed it at the

      officers, Officer DeLong believed Delgado was about to shoot at the officers and

      therefore fired, striking and killing Delgado. Officer Delong was not disciplined and later

      became a detective.

      38. – 39.      Defendant City denies.

                                   CLAIMS FOR RELIEF

      FIRST CLAIM, DEFENDANTS JOSHUA DYK AND CITY OF PORTLAND

 Estate’s Claim of Violation of 4th Amendment; 42 U.S.C. §1983; Excessive Deadly Force

      40.            Defendants adopt the responses to Plaintiffs’ allegations in paragraphs 1-39.

      41.            Defendants admit.


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Count 1: Individual Liability of Joshua Dyk

       42.             This paragraph contains legal conclusions or opinions to which a response

is not required. To the extent a response is required, deny.

Count 2: Municipal Liability Custom and Practice of Failure to Investigate and

Discipline for Use of Excessive Deadly Force

       43.             This paragraph contains legal conclusions or opinions to which a response

is not required. To the extent a response is required, deny.

Relief Sought

       44. – 45.       These paragraphs contain legal conclusions or opinions to which a

response is not required. To the extent a response is required, deny.

                   SECOND CLAIM, DEFENDANT CITY OF PORTLAND, ONLY

                    State Law Claim of Estate for Wrongful Death/Battery

       46.             Defendant City adopts its responses to Plaintiffs’ allegations in paragraphs

1-39 above.

       47.             Defendant City admits Officer Dyk intentionally shot Stanton.

       48.             This paragraph contains legal conclusions or opinions to which a response

is not required. To the extent a response is required, deny.

                   THIRD CLAIM, DEFENDANT CITY OF PORTLAND, ONLY

                   State Law Claim of Estate for Wrongful Death/Negligence

       49.             Defendant City adopts its responses to Plaintiffs’ allegations in paragraphs

1-39 above.

       50.             This paragraph, and its subparts, contain legal conclusions or opinions to

which a response is not required. To the extent a response is required, deny.

       51.             This paragraph contains legal conclusions or opinions to which a response

is not required. To the extent a response is required, deny.

///


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           FOURTH CLAIM FOR RELIEF, DEFENDANT CITY OF PORTLAND, ONLY

               State Law Claim of A.S. for Intentional Infliction of Emotional Distress

         52.              Defendant City adopts its responses to Plaintiffs’ allegations in paragraphs

1-39 above.

         53.              Defendant City admits that officers placed A.S. in their care until she

could be united with her family. Defendant City otherwise denies any such statement, as alleged,

was made by any officer or agent of the City.

         54. – 56.        These paragraphs contain legal conclusions or opinions to which a

response is not required. To the extent a response is required, deny.

               FIFTH CLAIM FOR RELIEF, DEFENDANT CITY OF PORTLAND, ONLY

               State Law Claim of A.S. for Negligent Infliction of Emotional Distress

         57.              Defendant City adopts its responses to Plaintiffs’ allegations as presented

above.

         58.              Defendant City admits A.S. was in the driveway at the time of the

shooting. Defendant City is without sufficient information to admit or deny the remaining

allegations and therefore denies.

         59.              Defendant City is without sufficient information to admit or deny the

allegations in this paragraph and therefore denies.

         60.              This paragraph contains legal conclusions or opinions to which a response

is not required. To the extent a response is required, deny.

Damages

         61.              Defendants lack sufficient information at this time to admit or deny the

nature or extent of Plaintiffs’ alleged damages, and therefore deny those damages. In any event,

Defendants deny that they are legally responsible for any such damages.

         62.              Except as expressly admitted above, Defendants deny each and every

remaining allegation of Plaintiffs’ Complaint, because those allegations are untrue, or because


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Defendants are without knowledge or information sufficient to form a belief as to the truth of

those allegations at the present time. Defendants specifically deny that their actions were

unreasonable or unlawful in any manner.

        63.             Defendants request a jury trial.

                                  FIRST AFFIRMATIVE DEFENSE

                                      (Failure to State a Claim)

        64.             Plaintiffs have failed to state a claim upon which relief can be granted.

                                 SECOND AFFIRMATIVE DEFENSE

                                        (Qualified Immunity)

        65.             Officer Dyk is entitled to qualified immunity from liability under 42 USC

§ 1983 because he acted in good faith, and a reasonable police officer in his situation would not

have known that any of his actions would violate a clearly established constitutional or federally

protected right of Plaintiffs.

                                 THIRD AFFIRMATIVE DEFENSE

                                     (Objective Reasonableness)

        66.             Officer Dyk’s use of lethal force against Aaron Stanton was objectively

reasonable under the totality of the circumstances because Mr. Stanton’s conduct and actions

created an immediate threat of death or serious bodily injury to other officers, civilians, and himself.

                                 FOURTH AFFIRMATIVE DEFENSE

                                    (Justification-Common Law)

        67.             Any use of control or force by Officer Dyk or any of the City’s other police

officers was justified, as those actions were necessary to carry out their duties as law enforcement

officers.

                                 FIFTH AFFRIMATIVE DEFENSE

                                              (Privilege)

        68.             Any use of control or force by Officer Dyk or any of the City’s other police


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officers was privileged, as those actions were necessary to carry out their duties as law

enforcement officers.

                                SIXTH AFFIRMATIVE DEFENSE

                                             (Good Faith)

       69.               Any use of control or force by Officer Dyk or any of the City’s other

police officers was done in good faith.

                              SEVENTH AFFIRMATIVE DEFENSE

                                            (Self-Defense)

       70.               Officer Dyk was justified and privileged to use lethal force to protect

himself from a reasonable belief of an immediate threat of death or serious bodily injury from

Mr. Stanton.

                               EIGHTH AFFIRMATIVE DEFENSE

                                          (Defense of Others)

       71.               Officer Dyk was justified and privileged to use lethal force to protect other

persons from a reasonable belief of an immediate threat of death or serious bodily injury from

Mr. Stanton.

                               NINTH AFFIRMATIVE DEFENSE

                      (Comparative Fault - ORS 31.600 – Decedent Mr. Stanton)

       72.      Defendants are not at fault in the action pled by Plaintiffs because the death of

Mr. Stanton was his sole and exclusive fault. Plaintiffs’ injuries and resulting damages, if any,

were caused, in whole or substantial part, by Mr. Stanton’s own criminal, reckless and negligent

actions as follows:

                (a)      Firing a long rifle and handgun in a heavily populated area, creating a

       threat of serious bodily injury or death to the public;

                (b)      Firing a long rifle and handgun in a heavily populated area, creating public

       alarm;


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               (c)     Failing to obey the lawful commands of uniformed police officers to drop

       his weapon/s;

               (d)     Failing to obey the lawful commands of uniformed police officers to stop

       firing his weapon/s;

               (e)     Failing to obey the lawful commands of uniformed police officers by

       firing at police officers; and

               (f)     In consuming or abusing substances so as to affect his judgment and

       decision-making.

                              TENTH AFFIRMATIVE DEFENSE

                (ORS 31.180 – Certain Felonious Conduct as Bar to Civil Action)

       73.             Plaintiffs’ state law claims are barred by ORS 31.180, as Mr. Stanton’s

felonious conduct was a substantial factor contributing to his death.

                           ELEVENTH AFFIRMATIVE DEFENSE

                         (Oregon Tort Claims Act – ORS 30.260 et seq.)

       74.             Plaintiffs’ claims are subject to all limitations, conditions, and immunities

contained in Oregon’s Tort Claims Act, ORS 30.260 et seq.

                           TWELFTH AFFIRMATIVE DEFENSE

                                    (No Duplicative Damages)

       75.     Plaintiffs are not entitled to recover duplicative damages.

                          THIRTEENTH AFFIRMATIVE DEFENSE

                        (Right to Assert Additional Affirmative Defenses)

       76.     Defendants reserve the right to assert additional affirmative defenses which

discovery or other investigation may determine to be appropriate.

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     WHEREFORE, having fully answered Plaintiffs’ Complaint, Defendants ask for the

following relief:

       A.      That judgment be entered in favor of Defendants and against Plaintiffs;

       B.      That Defendants be awarded their reasonable costs incurred herein; and

       C.      That Defendants be awarded such other relief as the Court deems just and

equitable.

       DATED: July 8, 2024.

                                                Respectfully submitted,

                                                /s/ Carey Caldwell
                                                Carey Caldwell, OSB #093032
                                                Deputy City Attorney
                                                carey.caldwell@portlandoregon.gov
                                                William W. Manlove, OSB #891607
                                                Senior Deputy City Attorney
                                                william.manlove@portlandoregon.gov
                                                Of Attorneys for Defendants




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